                                                                   Case 2:19-bk-24804-VZ             Doc 202 Filed 01/10/20 Entered 01/10/20 16:54:21                            Desc
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                                                                   7   [Proposed] Attorneys for Debtor and Debtor in Possession

                                                                   8
                                                                                                       UNITED STATES BANKRUPTCY COURT
                                                                   9
                                                                                                        CENTRAL DISTRICT OF CALIFORNIA
                                                                  10
                                                                                                                  LOS ANGELES DIVISION
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                       In re:                                                       Case No.: 2:19-bk-24804-VZ
                                                                  12                                                                (formerly 19-12220 (KBO) in the
                                                                       YUETING JIA1,                                                District of Delaware)
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                                           Debtor.
                                                                  14                                                                 Chapter 11

                                                                  15                                                                NOTICE OF FILING OF DEBTOR’S
                                                                                                                                    MOTION FOR ORDER EXTENDING
                                                                  16                                                                PERIOD TO REMOVE STATE COURT
                                                                                                                                    ACTIONS PURSUANT TO 28 U.S.C
                                                                  17                                                                §1452 AND RULE 9027 OF THE
                                                                                                                                    FEDERAL RULES OF BANKRUPTCY
                                                                  18                                                                PROCEDURE

                                                                  19
                                                                                                                                    [No Hearing Required]
                                                                  20

                                                                  21   TO THE HONORABLE VINCENT P. ZURZOLO, THE OFFICIAL COMMITTEE OF

                                                                  22   UNSECURED CREDITORS, THE OFFICE OF THE UNITED STATES TRUSTEE AND

                                                                  23   PARTIES REQUESTING SPECIAL NOTICE:

                                                                  24            PLEASE TAKE NOTICE that Yueting Jia, debtor and debtor in possession herein (“YT” or

                                                                  25   “Debtor”), has filed a motion with this Court (the “Motion”) for entry of an order pursuant to 28

                                                                  26   U.S.C.§1452 and F.R.B.P. Rules 9006(b) and 9027, extending the 90-day period set forth in

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                                                                  28   1
                                                                         The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing
                                                                       address is 91 Marguerite Drive, Rancho Palos Verdes, CA 90275.

                                                                       DOCS_LA:326855.1 46353/002
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                                                                   1   Bankruptcy Rule 9027(a)(2)(A) during which the Debtor may seek to remove actions to federal court

                                                                   2   by an additional ninety-one (91) days, i.e., through and including April 13, 2020, without prejudice

                                                                   3   to the Debtor’s right to seek further extensions.

                                                                   4            PLEASE TAKE FURTHER NOTICE that, pursuant Local Rule 9013-1(o)(1), any

                                                                   5   objection to the proposed Motion and request for hearing must be filed with the Court and served on

                                                                   6   the Committee, its proposed counsel, and the Office of the United States Trustee no later than

                                                                   7   fourteen (14) days from the date of service of this notice. A true and correct copy of the Motion can

                                                                   8   be obtained by contacting Beth Dassa, Paralegal, at Pachulski Stang Ziehl & Jones LLP, 10100

                                                                   9   Santa Monica Blvd, 13th Floor, Los Angeles, California 90067, telephone: (310) 277-6910; email:

                                                                  10   bdassa@pszjlaw.com.

                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                       Dated:    January 10, 2020                    PACHULSKI STANG ZIEHL & JONES LLP
                                                                  12
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                 By        /s/ Malhar S. Pagay
                                           ATTORNEYS AT LAW




                                                                                                                               Richard M. Pachulski
                                                                  14                                                           Jeffrey W. Dulberg
                                                                                                                               Malhar S. Pagay
                                                                  15
                                                                                                                               Proposed Attorneys for Debtor and Debtor
                                                                  16                                                           in Possession
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